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                   I N T H E UN IT E D S T A T E S D I S T R I C T C O U R T
                      F O R T H E W E S T E R N D I S T RI C T O F T E X A S
                                SAN ANTON IO D IV IS ION

 J OE HO LC OM BE, et. al,                   §         NO. 5: 18 -C V-00555 -XR
                                             §
 Plaintiffs                                  §    Consolidated with:
                                             §    5:18-cv-00712-XR (Vidal)
                                             §    5:18-cv-00881-XR (Uhl)
 vs.                                         §    5:18-cv-00944-XR (Ramsey)
                                             §    5:18-cv-00949-XR (McNulty)
 UN ITED S TATES O F                         §    5:18-cv-00951-XR (Wall)
 AM ER IC A,                                 §    5:18-cv-01151-XR (Amador)
                                             §    5:19-cv-00184-XR (Brown)
 Defendant                                   §    5:19-cv-00289-XR (Ward)
                                             §    5:19-cv-00506-XR (Workman)
                                             §    5:19-cv-00678-XR (Colbath)
                                             §    5:19-cv-00691-XR (Braden)
                                             §    5:19-cv-00706-XR (Lookingbill)
                                             §    5:19-cv-00714-XR (Solis)
                                             §    5:19-cv-00715-XR (McKenzie)
                                             §    5:19-cv-00805-XR (Curnow)
                                             §    5:19-cv-00705-XR (Workman)
                                             §    5:19-cv-00806-XR (Macias)

               DEFENDANT UNITED STATES’ MOTION FOR LEAVE TO
                   DESIGNATE RESPONSIBLE THIRD PARTIES

COMES NOW THE UNITED STATES OF AMERICA files this Motion for Leave to Designate

Responsible Third Parties and in support thereof, would state as follows:

       1. The United States files this motion for leave to designate Devin Patrick Kelley

(“Kelley”), Academy, Ltd., d/b/a Academy Sports & Outdoors (“Academy”), and John Does

Nos. 1–10, a person or persons unknown who may have conspired with Kelley to commit the

criminal act that was the cause of the injuries that are the subject of the lawsuit, as responsible

third parties pursuant to Tex. Civ. Prac. & Rem. Code § 33.001, et. seq.
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       2. In its Answers to the Plaintiffs’ Complaints (ECF Nos. 106, 106A, 108, 109, 110, 111,

112, 113, 114, 115), the United States previously pleaded that Kelley, Academy, and any

unknown persons who may have conspired with Devin Patrick Kelley to commit the criminal act

that was the cause of the injuries that are the subject of the lawsuit, i.e. John Does, are

responsible third parties within the meaning of § 33.011(6) and that Kelley, Academy, and any

unknown persons who may have conspired with Devin Patrick Kelley to commit the criminal act

that was the cause of the injuries that are the subject of the lawsuit, i.e. John Does, are

responsible in accordance § 33.003(a).

       3. As stated in the Plaintiffs’ Complaints and Amended Complaints, Kelley was the

individual who planned and committed the shooting at the First Baptist Church of Sutherland

Springs, in Sutherland Springs, Texas, on November 5, 2017. Kelley’s conduct caused the harm

for which recovery is sought in this action.

       4. Academy sold Kelley a firearm, specifically a high-capacity Model 8500 Ruger AR-

556 semi-automatic AR-15 style rifle, which included a large-capacity 30-round magazine. To

purchase this firearm, Kelley presented Academy with a Colorado driver’s license. With respect

to the sale of that rifle, the Federal Gun Control Act required Academy to comply with the laws

of both Texas, the seller’s state, and Colorado, the buyer’s apparent state of residence. 18 U.S.C.

§ 922(b)(3). Colorado law restricts the sale of high-capacity magazines, i.e. magazines holding

more than fifteen rounds. Colo. Rev. Stat. §§ 18-12-301, 302. Therefore, Academy was not

permitted to sell Kelley the Model 8500 Ruger AR-556 under federal law because sale of that

rifle would have been illegal in Colorado. On November 5, 2017, Kelley used the Model 8500

Ruger AR-556 to commit the shooting at the First Baptist Church of Sutherland Springs.
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Academy’s conduct thus contributed to causing the harm for which recovery is sought in this

action.

          5. John Does Nos. 1–10 are any person or persons unknown who may have conspired

with Devin Patrick Kelley to commit the criminal act that was the cause of the injuries that are

the subject of the lawsuit. John Does’ conduct contributed to causing the harm for which

recovery is sought in this action.

          6. Therefore, the United State requests leave to designate Devin Patrick Kelly, Academy,

Ltd., d/b/a Academy Sports & Outdoors, and John Does Nos. 1–10 as responsible third parties

pursuant to Tex. Civ. Prac. & Rem. Code § 33.004.

Dated: October 15, 2019

                                                      Respectfully submitted,

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General
                                                      Civil Division
                                                      JOHN F. BASH
                                                      United States Attorney
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                                                      JAMES G. TOUHEY, JR.
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                                                      Civil Division
                                                      AUSTIN L. FURMAN
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                                                      Civil Division

                                                      /s/ Paul David Stern
                                                      PAUL DAVID STERN
                                                      Trial Attorney, Torts Branch
                                                      Civil Division
                                                      United States Department of Justice
                                                      UNITED STATES OF AMERICA
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                                CERTIFICATE OF SERVICE

       I certify that on October 15, 2019, I electronically filed the foregoing with the clerk of

court by using the CM/ECF system, and that all counsel of record have received notice and been

served through that system.



                                                      /s/ Paul David Stern
                                                      PAUL DAVID STERN
